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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-CV-02285-NYW
  CENTER FOR LEGAL ADVOCACY, d/b/a
  DISABILITY LAW COLORADO,

         Plaintiff,
  v.

  MICHELLE BARNES,
  in her official capacity as Executive Director
  of the Colorado Department of Human Services, and

  JILL MARSHALL,
  in her official capacity as Chief Executive Officer
  of the Colorado Mental Health Institute at Pueblo,

         Defendants.



                                    CONSENT DECREE
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        THIS MATTER comes before the Court pursuant to the Parties’ Joint Motion for Approval

 and Entry of Consent Decree.

        THE PARTIES, by and through their respective counsel, have jointly stipulated to all facts

 set forth herein and agreed to entry of a consent decree to resolve this Lawsuit under the terms and

 conditions set forth herein.

        THE COURT, having reviewed the Parties’ Joint Motion for Approval and Entry of

 Consent Decree and being fully advised in the matters contained therein, hereby FINDS that good

 cause exists for approval and entry of the Consent Decree as follows:

 I.     FINDINGS OF FACT AND CONCLUSIONS OF LAW REGARDING THE
        CONSENT DECREE

        1.      On August 31, 2011, Plaintiff, the Center for Legal Advocacy, d/b/a Disability Law

 Colorado (“DLC”) commenced this action (the “Lawsuit”) against Defendants Reggie Bicha, in

 his official capacity as Executive Director of the Colorado Department of Human Services, and

 Teresa Bernal, in her official capacity as Interim Superintendent of the Colorado Mental Health

 Institute at Pueblo (“CMHIP”), challenging Defendants’ alleged failure to comply with the Due

 Process Clause of the Fourteenth Amendment to the United States Constitution, which requires

 Defendants to timely provide competency evaluations and restoration treatment to pretrial

 detainees in Colorado jails.

        2.      The Colorado Department of Human Services (the “Department”) has a statutory

 obligation under C.R.S. §§ 16-8.5-101 et seq. (2018) to provide competency evaluations for

 persons charged with criminal offenses when the issue of competency is raised, and to provide

 restoration treatment for persons found incompetent to proceed.




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        3.      The Parties settled the Lawsuit pursuant to a Settlement Agreement executed on

 April 6, 2012 (the “2012 Settlement Agreement”), which was incorporated into the Order of

 Dismissal entered by the District Court in the Lawsuit. Dkt. 52.

        4.      The 2012 Settlement Agreement included a provision called Special

 Circumstances, which recognized that to some extent the Department’s ability to perform its

 statutory obligations and its obligations under the 2012 Settlement Agreement is based on factors

 beyond the Department’s control. Dkt. 51-1.

        5.      The Department invoked Departmental Special Circumstances on August 3, 2015,

 citing: (1) the dramatic increase in court referrals for evaluations and treatment; and

 (2) unprecedented staffing shortages at CMHIP. DLC disputed the Department’s invocation and

 filed a motion to reopen the litigation for enforcement of the 2012 Settlement Agreement, which

 this Court granted. Dkt. 62. After the Parties conducted settlement negotiations, they entered into

 an Amended and Restated Settlement Agreement which was filed with the Court on July 28, 2016

 (the “2016 Settlement Agreement”). Dkt. 78.

        6.      Another dispute has arisen between the Parties. The Department invoked

 Departmental Special Circumstances for the second time on June 22, 2017, citing in support an

 unanticipated spike in court-ordered referrals for inpatient competency evaluations and

 restorations. On December 22, 2017, the day the Department’s June 22, 2017 invocation was set

 to expire, the Department invoked Departmental Special Circumstances for a third time, citing a

 sustained increase in the number of court-ordered referrals for inpatient competency evaluations

 and restorations. DLC disputed the Department’s second and third invocations as improper under

 the terms of the 2016 Settlement Agreement. Defendants’ present inability to comply with the

 timeframes required by the 2016 Settlement Agreement has created a lengthy waitlist of pretrial




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 detainees, some of whom have been forced to wait in jail for more than 150 days for a competency

 evaluation or restoration treatment.

        7.      DLC moved to reopen the action for enforcement of the 2016 Settlement

 Agreement on June 13, 2018 (Dkt. 82), and this Court entered an order reopening that matter on

 June 14, 2018. Dkt. 83.

        8.      The parties filed cross-motions for summary judgment (Dkts. 96 and 97) and this

 Court held a September 28, 2018 hearing on them. This Court issued an order on November 9,

 2018 granting in part and denying in part DLC’s motion for summary judgment and denying

 Defendants’ motion for summary judgment. Dkt. 113. This Court held that: (1) the 2016

 Settlement Agreement permits Defendants to invoke Departmental Special Circumstances

 consecutively; and (2) the Defendants have been in breach of the 2016 Settlement Agreement’s

 timeframes for inpatient restorations since June 2018. Id. The Court found that in each month from

 July 2017 through the present, Defendants have failed to maintain a 24-day monthly average for

 inpatient restoration treatment. The Court reserved ruling on whether Defendants breached the

 2016 Settlement Agreement by their invocations of Departmental Special Circumstances in

 June 2017 and December 2017 and whether the Defendants acted in bad faith.

        9.      The Court set this matter for a five-day evidentiary hearing to commence on

 March 18, 2019 on whether Defendants properly invoked Departmental Special Circumstances in

 June 2017 and December 2017, so the Court can rule upon a forthcoming motion by DLC to

 enforce and to determine the appropriate scope and terms of an injunction going forward to address

 the Department’s performance of inpatient restoration services. Dkt. 113.

        10.     After setting the case for hearing and commencing discovery, this Court granted

 DLC’s motion for appointment of a Special Master. Dkts. 117 & 123. On December 28, 2018, the




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 Court appointed Groundswell Services and its team of Drs. Neil Gowensmith and Daniel Murrie

 as Special Master in this matter. Dkt. 130. Their duties, duration, and scope are outlined in the

 Order Appointing Special Master. Dkt. 130.

        11.     On January 28, 2019, pursuant to the Court’s order, the Special Master submitted a

 report with a Review of the Department’s Plan for Compliance and provided recommendations

 regarding the Plan. Dkt. 146.

        12.     On January 30, 2019, the Parties notified the Court that they agreed to mediate a

 resolution. The Court stayed discovery production, and the March 18, 2019 hearing was reset to

 commence on June 3, 2019, in the event mediation was unsuccessful. The Court set a March 15,

 2019 deadline to produce a signed Consent Decree or to file a joint status report if the Parties

 cannot reach an agreement.

        13.     This Consent Decree resolves the Lawsuit. This Consent Decree is being entered in

 order to ensure that pretrial detainees obtain timely competency evaluation and restoration

 services, while both avoiding harming other persons with mental or developmental disabilities in

 the Department’s care and avoiding protracted, costly and uncertain litigation. The terms of that

 resolution are embodied in this Consent Decree.

        NOW, THEREFORE, with the consent of the Parties to this Decree, it is hereby

 ORDERED, ADJUDGED, AND DECREED that:

 II.    PARTIES, PURPOSE, INTENT

        14.     DLC is an independent nonprofit corporation headquartered in Denver, Colorado.

 DLC was designated in 1977 by Governor Richard Lamm as Colorado’s protection and advocacy

 system (“P&A System”) to protect and advocate for the rights of persons with mental illness and

 developmental disabilities under the Developmental Disabilities Assistance and Bill of Rights Act.

 42 U.S.C. §§ 15041-45. Since 1986, DLC has received federal grants on an annual basis, and has


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 established and administered a P&A System in Colorado for individuals with mental illness

 pursuant to 42 U.S.C. §§ 10803 and 10805 of the Protection and Advocacy for Individuals with

 Mental Illness Act (the “PAIMI Act”). Since 1986, DLC has been and is currently the eligible

 P&A System for individuals with mental illness in Colorado as defined at 42 U.S.C. § 10802(2).

        15.     DLC has a governing board of directors which is composed of members who

 broadly represent and who are knowledgeable about the needs of individuals with mental illness.

 DLC’s board of directors includes members who have received or are receiving mental health

 services or who have family members who have received or are receiving mental health services.

        16.     DLC’s constituents include individuals with mental illness, who have been abused,

 neglected and/or suffered civil rights violations. DLC has established a PAIMI Advisory Council,

 over sixty percent (60%) of whose members themselves have received or are receiving mental

 health services or have family who have received or are receiving mental health services. The

 PAIMI Advisory Council advises the P&A System on the policies and priorities designed to

 protect and advocate for the rights of individuals with mental illness. The Chair of DLC’s PAIMI

 Advisory Council, who is also a member of DLC’s board of directors, has a family member who

 has received and is receiving mental health services.

        17.     Together, DLC’s board of directors and PAIMI Advisory Council have developed

 the annual priorities and objectives of the P&A System for individuals with mental illness. DLC’s

 PAIMI Program Priorities and objectives state that DLC will monitor facilities, including jails, and

 investigate reports/complaints of abuse, neglect and rights violations, and take action to remedy

 any abuse, neglect and/or civil rights violations. When the rights of its constituents are violated,

 DLC is authorized by statute to pursue legal remedies on their behalf, such as through litigation.

 42 U.S.C. § 10805(a)(1)(A)(B) & (C). To the extent DLC expends its resources to protect the rights




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  of its constituents in county jails waiting for competency evaluations or restoration treatment, its

  resources are diverted away from assisting other constituents.

         18.     DLC has established a public opinion survey for constituents and interested

  persons, such as family members, to comment on DLC’s priorities and objectives and a grievance

  procedure for clients or prospective clients, which allows its constituents with mental illness and

  family members of such individuals to assure them that DLC and the PAIMI Program are operating

  in compliance with the provisions of the PAIMI Act.

         19.     DLC’s constituents who are detained and charged with crimes are hindered from

  asserting their own constitutional rights. Obstacles they face include the imminent mootness of

  individual claims as they are likely to be admitted to CMHIP for restoration treatment during the

  pendency of any case they might bring. In addition, pretrial detainees who are presumed or

  determined to be incompetent to proceed are often impaired and unable to direct or participate in

  litigation on their own behalf.

         20.     Defendant Michelle Barnes is sued in her official capacity as the Executive Director

  of the Colorado Department of Human Services. As relevant here, the Department is responsible

  under Colorado law for the operation of CMHIP and the provision of competency evaluations and

  restoration treatment. Forensic Services within the Department’s Office of Behavioral Health

  provides court-ordered competency evaluations.

         21.     Defendant Jill Marshall is sued in her official capacity as the Chief Executive

  Officer of CMHIP. As relevant here, CMHIP currently is the state’s principal forensic mental

  health hospital that accepts custody of pretrial detainees for competency evaluations and

  restoration treatment.




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         22.     This Consent Decree will require the Department to ensure that thousands of future

  pretrial detainees will not be forced to wait in jail for months before receiving their court-ordered

  competency evaluations and restoration treatment in violation of their constitutional rights; at the

  same time, the Department will avoid negatively impacting other persons with mental health or

  developmental disabilities or juveniles in their care. In doing so, the Department will be required

  to implement concrete reforms that will allow for long-term compliance with this Consent Decree.

  The Parties believe that with the guidance of the Court and the Special Master (to be discussed

  infra) the Department will be able to:

                 (a)     Develop a comprehensive, cohesive approach to planning to maintain

         compliance with this Consent Decree.

                 (b)     Adhere to the admission timeframes for pretrial detainees, and at the same

         time avoid causing harm to and/or displacement to other people with mental or

         developmental disabilities in their care.

                 (c)     Maximize the use of competency services in the community, by funding,

         developing, recruiting, and supporting a variety of community services. Dkt. 146.

                 (d)     Create a team that will develop a centralized, data-driven system that

         captures, analyzes, and disseminates data in a reliable and meaningful manner to inform

         decisions and planning. Id.

                 (e)     Develop and implement a triage system that considers clinical needs to

         assign individualized services. Id.

                 (f)     Implement state-wide uniform standards for competency evaluators and

         evaluations and conduct rigorous training for forensic evaluators and restoration providers

         to ensure evaluations are of high quality. Id.




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                 (g)     Prepare budget requests and propose and support legislation which are

         calculated to meet the terms of the Consent Decree and take all necessary next steps and

         exert good faith efforts to obtain adequate funding from the Colorado General Assembly.

  III.   JURISDICTION, VENUE, AND STANDING

         23.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

  1343(a)(3) because it arises under the Fourteenth Amendment to the United States Constitution

  and 42 U.S.C. § 1983. This Court also has jurisdiction under the Declaratory Judgment Act, 28

  U.S.C. §§ 2201-02.

         24.     Venue is appropriate in this Court under 28 U.S.C. § 1391(b)(2) because the events

  giving rise to this Complaint occurred in this District.

         25.     DLC has standing in the Lawsuit to assert due process claims on behalf of its

  constituents, persons within the State of Colorado with a mental illness and/or intellectual

  disability who have been charged with a criminal offense, ordered to receive a competency

  evaluation or restoration treatment, and who await the provision of that treatment in Colorado jails.

  IV.    PARTIES BOUND AND INTERPRETATION OF THIS AGREEMENT

         26.     In entering this Consent Decree, Defendants do not admit any violation of law. This

  Consent Decree shall not be interpreted in any court, administrative, or other proceeding as

  evidence of Defendants’ liability.

         27.     The parties agree that the right to timely competency services implicates rights

  secured and protected by the Fourteenth Amendment of the United States Constitution, Article 1,

  and 42 U.S.C. §1983.

         28.     This Consent Decree is legally binding and judicially enforceable. This Consent

  Decree shall be applicable to and binding upon the parties, their officers, agents and employees,

  and their successors and assigns.


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         29.     Until the Consent Decree is terminated, the parties hereby consent to the Court’s

  continuing supervision in this matter, until further order of the Court, and to its authority to

  interpret the provisions of this Agreement, to review and adopt plans necessary to implementation

  of its terms, to modify its terms as may be needed to effect its purposes, and to take appropriate

  actions within its equitable powers to ensure its enforcement and the fulfillment of its terms and

  purposes.

         30.     The terms of this Consent Decree shall be interpreted consistent with its overall

  purposes and principles.

  V.     DEFINITIONS

         31.     The following terms shall have the meanings set forth below (the definitions to be

  applicable to both the singular and the plural forms of each term defined if both forms of such term

  are used in this Consent Decree):

                 (a)     “Arrest Date” means the day, month, and year a Pretrial Detainee was

         arrested for the case in which competency has been raised.

                 (b)     “Collateral Materials” means the relevant police incident reports and the

         charging documents, either the criminal information or indictment.

                 (c)     “Community-Based Competency Evaluation” means a Competency

         Evaluation of a Community-Based Service Recipient that is ordered to be performed out

         of custody and in conjunction with a community-based mental health center or community

         organization.

                 (d)     “Community-Based Restoration Treatment” means Restoration Treatment

         of a Community-Based Service Recipient that is ordered to be performed out of custody

         and in conjunction with a community-based mental health center or community

         organization.


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              (e)      “Community-Based Services Recipient” means a defendant who has been

       ordered to receive a Community-Based Competency Evaluation or Restoration Treatment.

              (f)      “Competency Evaluation” means           a court-ordered     evaluation   for

       competency to proceed, administered by the Department, and the accompanying report

       prepared by the Department and more fully described in C.R.S. §§ 16-8.5-103, 105.

              (g)      “Competency Services” means Competency Evaluations and Restoration

       Treatment.

              (h)      “Competency Services Recipient” means a Pretrial Detainee or a

       Community-Based Services Recipient.

              (i)      “Competent to Proceed” means that a court has ordered that a defendant in

       a criminal case does not have a mental disability or developmental disability that prevents

       the defendant from having sufficient present ability to consult with the defendant’s lawyer

       with a reasonable degree of rational understanding in order to assist in the defense or

       prevents the defendant from having a rational and factual understanding of the criminal

       proceedings. C.R.S. § 16-8.5-101(4).

              (j)      “County Jail” means a jail or detention facility which houses a Pretrial

       Detainee. County Jail does not include a behavioral health unit located within a county jail

       (e.g., RISE).

              (k)      “Court Order” means a written order, issued by a court, and signed by a

       judge that directs the transfer of custody of a Pretrial Detainee to the Department.

              (l)      “Court Liaison” means a person who is hired by the Colorado Judicial

       Branch’s State Court Administrator’s Office as a dedicated behavioral health court liaison

       in each state judicial district, pursuant to C.R.S. §§ 16-11.9-203, 204, who facilitates




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       communication and collaboration between judicial and behavioral health systems, and

       keeps judges, district attorneys, and defense attorneys informed about the availability of

       community-based behavioral health services.

              (m)     “Days Waiting” means the number of days elapsed between the Ready for

       Admission date and the Offered Admission date.

              (n)     “Department” means the Colorado Department of Human Services. Any

       reference to the Department includes the Office of Behavioral Health and the Hospital,

       which are divisions of the Department and do not have independent authority or obligations

       under Title 16, Article 8.5, C.R.S.

              (o)     “Department Plan” mean the Department’s comprehensive description of

       its efforts to achieve long-term compliance with this Consent Decree by providing timely

       competency services without undermining the broader system of mental health care.

              (p)     “Evaluator Signed Date” means the date the Jail Competency Evaluation is

       signed by the evaluator after having been completed.

              (q)     “Hold and Wait Evaluation” means an in-custody evaluation of a Pretrial

       Detainee that is conducted in another facility, after transport by the sheriff of the

       commitment county to the alternative facility. For example, a sheriff in a county in which

       there are no evaluation services may transport the Pretrial Detainee to the nearest county

       where these services are available, wait for the evaluator to complete the interview and

       examination, and return the Pretrial Detainee to the jail in the county of commitment.

              (r)     “Hospital” means the Colorado Mental Health Institute at Fort Logan

       (CMHIFL) or Colorado Mental Health Institute at Pueblo (CMHIP).




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              (s)     “Inpatient Competency Evaluation” means a Competency Evaluation of a

       Pretrial Detainee that is ordered to be performed at the Hospital or in a separate locked

       facility that is established for the purpose of providing Inpatient Competency Evaluations

       and Restoration Treatment. This includes Competency Evaluations conducted at the RISE

       program or a similar program located on a dedicated behavioral health unit at a county jail.

              (t)     “Inpatient Restoration Treatment” means the Restoration Treatment of a

       Pretrial Detainee that is performed at the Hospital or at a separate locked facility that

       provides comprehensive Restoration Treatment to the Pretrial Detainee. This includes

       Restoration Treatment that is provided at the RISE program or a similar program located

       on a dedicated behavioral health unit at a county jail.

              (u)     “Interim Jail Mental Health Treatment” means mental health treatment of a

       Pretrial Detainee that is performed in the County Jail where the Pretrial Detainee is held

       while the Pretrial Detainee awaits Community-Based or Inpatient Restoration Treatment

       per Court Order consistent with the timeframes in the Consent Decree.

              (v)     “Jail Competency Evaluation” means a Competency Evaluation performed

       in the County Jail where the Pretrial Detainee is being held.

              (w)     “Medically Cleared” means that a Pretrial Detainee is, in the opinion of the

       Department’s medical staff, appropriate for Inpatient Competency Evaluation or Inpatient

       Restoration Treatment.

              (x)     “Offered Admission Date” means the date the Department offers the Pretrial

       Detainee admission for Inpatient Restoration Treatment or Inpatient Competency

       Evaluation. Before the Department offers admission to a Pretrial Detainee, the following

       three criteria must be satisfied: (1) the Department has an open bed for the Pretrial Detainee




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       at the location for the Inpatient Evaluation or Inpatient Restoration Treatment; (2) the

       location for Inpatient Evaluation or Inpatient Restoration Treatment is ready to receive the

       Pretrial Detainee for admission; and (3) the Department notifies the County Jail of the

       same.

               (y)    “Pretrial Detainee” means a person who is being held in the custody of a

       County Jail and whom a court has ordered to undergo Competency Services. Persons

       serving a sentence in the Department of Corrections and juveniles are excluded from this

       Consent Decree.

               (z)    “Ready for Admission Date” means the date on which the Department has

       received the Court Order for Competency Services and, in the case of Competency

       Evaluations or Restoration Treatment when the Competency Evaluation was not conducted

       by the Department, the Department has also received the Collateral Materials.

               (aa)   “Restoration Treatment” means mental health care and treatment provided

       for the purpose of restoring a Competency Services Recipient.

               (bb)   “Settlement Payment” has the meaning set forth in Part XIII.

               (cc) “Special Master” means Court-appointed Groundswell Services and its

       team of Drs. Neil Gowensmith and Daniel Murrie (Dkt. 130), or any successor appointee

       whose duties and authority are set forth in Dkt. 130 and in this Consent Decree.

               (dd) “Tier 1” means a Pretrial Detainee who has been ordered to              receive

       Inpatient Restoration Treatment and whom a competency evaluator has determined either:

       (1) appears to have a mental health disorder and, as a result of such mental health disorder,

       appears to be a danger to others or to himself or herself, or appears to be gravely disabled




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         or (2) has a mental health disorder, and as a result of either (1) or (2), delaying

         hospitalization beyond seven days would cause harm to the Pretrial Detainee or others.

                (ee)    “Tier 2” means a Pretrial Detainee who has been ordered to receive

         Inpatient Restoration Treatment and who does not meet Tier 1 criteria.

  VI.    TIMEFRAMES

         32.    Recent Compliance with Timeframes. The Department has been out of compliance

  with the 2016 Settlement Agreement Timeframes to provide timely restoration services since June

  2017. The Department has complied with the required timeframes to provide competency

  evaluations since May 2018 but was out of compliance for those timeframes from June 2017 to

  April 2018. Dkt. 113 ¶ 39 & Chart 2.

         33.    Timeframes

                (a)     Admission of Pretrial Detainees for Inpatient Competency Evaluations and

         Restoration Treatment. The Department shall Offer Admission to Pretrial Detainees to the

         Hospital for Inpatient Restoration Treatment or Inpatient Competency Evaluations

         pursuant to the attached table (Table 1). Compliance with this measure shall be calculated

         based on the number of Days Waiting for each Pretrial Detainee.

                (b)     Performance of Jail Competency Evaluations. The Department shall

         complete all Jail Competency Evaluations of a Pretrial Detainee pursuant to the attached

         table (Table 1), after the Department’s receipt of a Court Order directing the evaluation

         and receipt of Collateral Materials. This timeframe requirement shall apply to the following

         counties: Adams, Alamosa, Arapahoe, Boulder, Broomfield, Crowley, Custer, Denver,

         Douglas, El Paso, Elbert, Fremont, Huerfano, Jefferson, Larimer, Mesa, Otero, Pueblo,

         Teller, and Weld. Counties not specifically identified are counties that use the “Hold and

         Wait” court ordered process. Counties utilizing the Hold and Wait Evaluation process will


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         be offered a meeting date within 30 days of the Department’s receipt of the Court Order

         and Collateral Materials, and the evaluation will be completed within 30 days of the

         meeting. Beginning January 1, 2020, counties utilizing the Hold and Wait Evaluation

         process will be offered a meeting date within 30 days of the Department’s receipt of the

         Court Order and Collateral Materials, and the evaluation will be completed within 14 days

         of the meeting.

         34.     Interim Jail Mental Health Treatment. If the court does not release the Pretrial

  Detainee to Community-Based Restoration Treatment and the Pretrial Detainee is awaiting receipt

  of Inpatient Restoration Treatment, the Department shall work with the County Jails to develop a

  program to assist in the provision of coordinated services for individuals in accordance with C.R.S.

  §§ 27-60-105 et seq. to screen, treat, assess, and monitor for triage purposes Pretrial Detainees in

  the least restrictive setting possible. This paragraph does not toll or otherwise modify the

  Department’s obligation to Offer Admission to the Pretrial Detainees for Inpatient Restoration

  Treatment. Interim Jail Mental Health Treatment shall not replace or be used as a substitute for

  Inpatient Restoration Treatment but does not preclude the Department from providing Restoration

  Treatment. A member of the Forensic Support Team shall report to the Court Liaison every 10

  days concerning the clinical status and progress towards competency of the Pretrial Detainee.

         35.     Release of Pretrial Detainees for Community-Based Restoration Treatment. If the

  court releases the Pretrial Detainee on bond to commence Community-Based Restoration

  Treatment, the Department shall coordinate with the Court Liaison to develop a discharge plan (in

  a format approved by the Special Master) within seven days of the order to all parties involved in

  the Community-Based Services Recipient’s case, and the Court Liaison and community-based

  provider.




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         36.     Transportation of Pretrial Detainees. If a Pretrial Detainee is transported to the

  Hospital for an Inpatient Competency Evaluation and the Department or a medical professional

  opines that the Pretrial Detainee is incompetent and the provisions of C.R.S. § 27-65-125 have

  been met, the Department shall not transport the Pretrial Detainee back to his/her originating jail.

         37.     Daily Fines for Non-Compliance with Timeframes. Beginning on June 1, 2019,

  through the conclusion of the Consent Decree, the Department agrees to comply with timeframes

  and fines as set forth in the attached table (Table 1). Such fines shall be capped on a June 1 to

  May 31 timeframe at $10,000,000, indexed for inflation yearly pursuant to the CPI-U. The

  liquidated damages for material violations as set forth in Paragraph 60(c) shall not be counted

  toward this cap.

         38.     Notification of Non-Compliance with Timeframes. The Department shall notify

  the Special Master and DLC weekly regarding any non-compliance with timeframes.

                 (a)     Only one notice per Pretrial Detainee shall be provided and should include:

                         (i)     The name of the Pretrial Detainee;

                         (ii)    The Pretrial Detainee’s location;

                         (iii)   The Pretrial Detainee’s charges based on information available to

                 the Department;

                         (iv)    The Pretrial Detainee’s bond amount based on information available

                 to the Department;

                         (v)     Whether a forensic assessment has been made on whether

                 restoration in the community is appropriate;

                         (vi)    Whether the Pretrial Detainee has previously been found

                 incompetent;




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                         (vii)   What efforts are being made to provide timely Competency Services

                 to the Pretrial Detainee, including communications with the court, Court Liaisons,

                 and community mental health providers;

                 (b)     The Department shall accompany its Monthly Data Report                   (see

         Paragraph 52) with a separate “Fines Report” which will include the names of the Pretrial

         Detainees for whom the Department has accrued a fine during the preceding month, the

         number of days each Pretrial Detainee waited in the County Jails past the timeframes for

         compliance, and the total fines owed by the Department for the preceding month.

                 (c)     The Department shall pay the total fines owed on the date the Fines Report

         is submitted to the Special Master to be deposited in an interest-bearing account created

         for the purpose of funding non-Department services for persons with mental illness. The

         account will be managed by a third-party agreed upon by the parties; the parties will

         identify and agree to said third-party no later than December 31, 2019. Decisions

         concerning payments out of the account will be made by a committee consisting of a

         representative from the Plaintiff, a representative from the Department, and the Special

         Master. Any disputes regarding the fines or third-party account manager shall be handled

         through the dispute resolution process identified in Paragraph 59.

  VII.   ADDITIONAL REQUIRED ACTION FOR SUSTAINABLE LONG-TERM
         COMPLIANCE

         39.     Civil Bed Freeze. The Department’s 2018 Plan included an effort to freeze civil

  admissions to its beds to devote Hospital beds to perform Inpatient Restoration Treatment services.

  On February 7, 2019, the Department agreed to stop this practice. The Department will continue

  to leave the state’s civil and juvenile beds allocated as of the execution of this Consent Decree for

  civil and juvenile psychiatric admissions and will not freeze or convert those beds to provide

  competency services for Pretrial Detainees, unless the Department receives prior agreement from

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  the Special Master to use unutilized beds for such purposes. This strategy to facilitate compliance

  with the Consent Decree shall only be re-implemented in the future upon agreement of the Special

  Master.

         40.     Comprehensive and Cohesive Plan. The Special Master’s first recommendation

  was to revise the Department’s 2018 Plan into a more comprehensive and cohesive plan. Dkt. 146.

  By or about January 2020, the Department will produce an initial plan resulting from a long-term

  visioning process with DLC, the Special Master, and stakeholders that will consolidate disparate

  pieces of the Department’s current plan, along with legislative initiatives, in a cohesive package

  for courts, administrators, service providers, and legislators to consider. As referenced in the

  Special Master’s Recommendation Number 7, the 2020 Plan will highlight the methods to

  prioritize quality amid quantity and time pressures. Dkt. 146 at 42. On an annual basis thereafter,

  the Department will review and revise the plan as appropriate based upon data provided by the

  Department.

         41.     Increase Community Restoration Services. The Parties agree that the Department

  is responsible for directly providing or contracting with individuals or agencies to provide

  Competency Services. The Parties agree that County Jails are not the best place for Pretrial

  Detainees to wait for treatment or receive treatment. The Parties agree that it is in the best interests

  of some Pretrial Detainees to receive Competency Services in the community, as those Pretrial

  Detainees will avoid unnecessary institutionalization and will receive treatment in the least

  restrictive environment. Additionally, the movement of appropriate Pretrial Detainees to the

  community will lessen the need for more Hospital beds and hiring additional qualified staff by the

  Department. The Parties agree that increased community restoration is a key component to comply

  with the timeframes in this Consent Decree as to Competency Services. The Special Master’s




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  Recommendation Number 2 is for the Department to “[r]educe emphasis on inpatient beds and

  increase emphasis on community services.” Dkt. 146 at 17. The Special Master’s

  Recommendation Number 3 is to “[f]urther prioritize outpatient competence restoration.”

  Dkt. 146 at 23. As a result, the Department shall:

                 (a)    Implement a coordinated wide-scale outpatient (community-based)

         competency restoration (OCR) system. This system shall be integrated and submitted with

         the “Comprehensive and Cohesive Plan” referenced in Paragraph 40 herein. This plan shall

         be approved by the Special Master.

                 (b)    The Department may utilize private hospital beds to meet the needs of

         Pretrial Detainees meeting C.R.S. § 27-65-105(a) civil commitment criteria and with

         prioritization to Pretrial Detainees already residing within the same geographic location.

         The Department shall create a plan to implement this subsection (b) to be approved by the

         Special Master.

                 (c)    The Department currently estimates that 10-20% of Pretrial Detainees

         admitted for inpatient restoration do not need hospital-level care. Dkt. 146 at 29. The

         Department will make best efforts to reduce inpatient restoration hospitalizations by 10%

         and increase community restorations by 10% in six-month increments beginning June 1,

         2019. The baseline for the preceding sentence will be determined by the Special Master by

         June 1, 2019, utilizing data provided by the Department. On June 1, 2020, the Special

         Master will establish a modification of this guideline based upon a survey of the data

         collection and implementation of the Department’s Plan.

         42.     Additional Department Hires. By June 1, 2019, the Department shall submit a plan

  to the Special Master and DLC to hire the following positions by August 1, 2019. The




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  Department’s plans and job descriptions shall be guided by the recommendations of the Special

  Master and the January 28, 2019 Special Report. See Dkt. 146.

                (a)     Forensic Support Team. The Forensic Support Team will be formalized to

         follow the Special Master’s Recommendation Number 6. Dkt. 146. The team will include

         a full-time Supervising Coordinator who is familiar with the Department’s duties and

         obligations herein, as well as the Department’s and Hospital’s processes and procedures in

         providing services to Pretrial Detainees, and whose responsibilities will include to:

         (1) interface with the Colorado Department of Health Care Policy and Financing (HCPF)

         regarding persons ordered to be evaluated for competency and those determined to be

         incompetent; (2) confer with the Special Master; (3) focus on budget and cost of inpatient

         versus outpatient care; (4) work directly with Office of Behavioral Health staff to assist in

         reducing the waitlist and meeting the timeframes of the Consent Decree; and (5) interface

         with the Court Liaisons or representatives funded by the judiciary to interface with the

         courts, Department, and community mental health centers. The Supervising Coordinator

         will work directly with the Special Master to ensure the Department’s compliance with the

         terms of this Consent Decree and to assist with other issues involving Pretrial Detainees on

         an individual or system-wide basis to increase the Department’s performance with

         providing timely Competency Services. In addition, the Forensic Support Team will

         include an effective number of coordinators (to be approved by the Special Master)

         responsible for each judicial district who can provide a centralized structure for

         stakeholders to immediately access detailed information about programs, clients, and

         settings and can complement the Court Liaison Program.




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                 (b)     Data Management Team. The Data Management Team will be formalized

         in a plan on the schedule identified in Paragraph 42 to follow the Special Master’s

         Recommendation Number 5. Dkt. 146. This team will be dedicated and designed to

         specifically assist with implementation of the Department’s Plan by collecting specific data

         on which the Department will base its projections and recommendations, calculate

         inpatient bed space, assess community restoration capacity, and determine financial

         estimates. The team will be comprised of at least three full-time employees dedicated to

         collecting and analyzing data affecting the competency system. The Special Master shall

         approve of the type of employees that shall be hired to comprise the Data Management

         Team.

         43.     Develop and Implement a Triage System. The Special Master’s Recommendation

  Number 4 recognizes a need for the Department to prioritize a triage approach over traditional

  waitlist approaches. Dkt. 146 at 27. Therefore, by June 1, 2019, the Department shall develop and

  implement a triage system to screen each Pretrial Detainee and make recommendations to the

  committing court as to the most clinically appropriate level of care to restore the Pretrial Detainee

  to competency. The Department shall seek suggestions from the Special Master on the

  development of a triage system, and two weeks prior to the implementation of the triage system it

  shall be approved by the Special Master. The Department shall continue to fine-tune the triage

  system with the assistance of the Special Master and shall include the progress of the triage system

  in its annual submission of the Department Plan.

         44.     Legislative Actions. The Parties agree that they will not propose, sponsor, or

  support any legislation that would violate the terms of this Consent Decree. The Department will

  provide DLC and the Special Master with all budget requests and proposed legislation affecting




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  this Consent Decree when they are sent to the Colorado General Assembly. The Special Master

  shall provide its opinion and recommendations on the proposed legislation and how it could impact

  the short- or long-term compliance with the Consent Decree. A copy of the final budget approved

  by the Colorado General Assembly shall be sent to the Special Master and DLC immediately

  following approval of the budget.

  VIII. SPECIAL MASTER AND REPORTING OBLIGATIONS

         45.     Selection of a Special Master. The Court has appointed Groundswell Services and

  its team of Drs. Neil Gowensmith and Daniel Murrie as the Special Master. Dkt. 130.

         46.     Special Master Duties and Reporting. The Special Master’s duties have been set

  forth by the Court in its Order appointing the Special Master and are fully incorporated and

  amended as set forth in this Consent Decree. Dkt. 113 at 6-7 §§ A(1)-(11); id. at 7-8 § B.

                 (a)    Special Master Duties:

                        (i)     Review and approve of the Department’s Plans to increase

                 timeliness of performance of Competency Services.

                        (ii)    Recommend plans for the Department’s consideration that propose

                 methods for addressing short- and long-term compliance with the timeframes for

                 Competency Services that may ultimately be adopted in whole or in part as part of

                 the Court’s injunctive relief to address the ongoing breach of the Amended and

                 Restated Settlement Agreement, and compliance with the Consent Decree.

                        (iii)   Develop a system of data collection, review, and analysis of

                 Departmental data and continued monitoring related to Competency Services, to

                 include reporting by the Department to the Special Master (timing identified below)

                 and reporting by the Special Master (timing identified below) analyzing such data

                 and making recommendations to the Court and the Parties based on such data.


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                    (iv)     Identify actual areas within the statewide system which have caused,

             are causing, or may cause non-compliance with the timeframe requirements of the

             Consent Decree concerning delivery of Competency Services.

                    (v)      Make    recommendations     to   the   Department   for   improved

             performance in the timely delivery of Competency Services.

                    (vi)     Assist and approve the Department’s design of a plan to address

             compliance with the Consent Decree timeframes concerning delivery of

             Competency Services, support the Department’s implementation of its plan, and

             monitor the Department’s compliance with all terms of the Consent Decree during

             the duration of the Appointment.

                    (vii)    Survey the Department’s efforts to attain compliance with the

             Consent Decree’s timeframe requirements concerning delivery of Competency

             Services and report to the Court and Parties (timing identified below) on the

             progress towards reaching compliance on those timeframes on a monthly basis,

             including documenting which efforts require action or approval by third parties.

                    (viii)   Assist the Court in fashioning and evaluating compliance with any

             future sanctions or injunctive relief ordered by the Court.

                    (ix)     Make other recommendations to the Court and the Parties on how to

             improve delivery of Competency Services for the purpose of effectuating

             compliance with the Consent Decree timelines concerning delivery of Competency

             Services, including how to audit the Department’s performance.

                    (x)      Approve of the Department’s planning and implementation of

             Section VII above.




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                      (xi)    Submit reports to the Court and the Parties, as defined in Dkt. 130,

              the timing identified below.

              (b)     Special Master Reporting: In order for the Special Master to make such

       recommendations to the Court and the Department as specified above, the Department shall

       provide all information the Special Master seeks for the purpose of carrying out its specific

       duties and obligations or which are reasonably related to this Consent Decree.

                      (i)     As part of the duties, the Special Master shall provide the Court and

              the Parties with status reports every other month for the first six months, and then

              quarterly thereafter. The Special Master’s status report was submitted on

              January 28, 2019. Dkt. 146. The next report shall be submitted to the Court and the

              Parties on March 28, 2019, and then May 28, 2019, and then quarterly thereafter.

              Such reports shall address the Department’s compliance with the timeframe

              requirements of the Consent Decree concerning Competency Services and shall

              provide a detailed summary of information and recommendations the Special

              Master believes the Court and Parties should consider relating to the Department’s

              compliance with the Consent Decree timeframes concerning Competency Services.

                      (ii)    The Special Master’s report shall include, but is not limited to,

              reporting on the number of Pretrial Detainees ordered to receive Competency

              Services, an assessment of the Department’s operations, systems, and admissions

              practices and policies relating to the Department’s ability to comply with the

              Consent Decree timeframes, and guidance to the Department for improvement and

              increasing efficiencies in these areas.




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                        (iii)   The Special Master shall have reasonable access to, and the

                Department shall provide the Special Master with, all records that the Special

                Master requests within a reasonable timeframe from the date of such request. The

                Special Master shall be able to request the Department organize the data in a format

                which is necessary for the Special Master’s efficient review. As a component of its

                reporting, the Special Master may select a sample of Pretrial Detainees from the

                Department’s monthly reporting and audit the timeliness by the Department of that

                sample’s Offered Admission dates for Competency Services. The Special Master

                shall include its findings of any such audit in its reports, and those reports shall be

                provided to the Parties and filed with the Court, with any private or confidential

                information redacted from the public filing. This Consent Decree meets the By Law

                exception to HIPAA’s confidentiality mandates for the exchange of health care

                records and information.

                        (iv)    The Special Master shall have the right to confer and subcontract

                with additional experts (but not allow double billing), as it determines in the

                exercise of its professional judgment would be helpful to the Court or the Parties,

                including for preparation of additional reports, studies, or research.

                        (v)     The Special Master’s report shall include the Department’s

                responses to the Special Master’s recommendations, at the Special Master’s

                discretion.

         47.    Visitation and Access. The Special Master shall have the general authority and

  responsibility to: visit and access Colorado facilities; confer with stakeholders in the criminal

  justice and mental health systems; review documents, staff procedures, and records of individuals




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  who are subject to this Consent Decree; and access budget and resources available, and funding

  streams related to, the Department’s duties under the Consent Decree and Competency Services.

  Neither the Special Master nor the Parties shall publicly disclose information obtained by the

  Special Master pursuant to this paragraph, which would otherwise be privileged or confidential,

  without consent of all the Parties and/or order of the Court.

         48.     Compensation. For the duration of this Consent Decree, the Special Master’s

  invoices must be submitted to the Court for payment by the Department. The Department shall

  compensate the Special Master and its staff at the Special Master’s standard rates. The Department

  shall reimburse all reasonable expenses of the Special Master and its staff consistent with the

  State’s government rates, procurement guidelines, and Department policy, including for travel and

  accommodations.

         49.     Resignation or Replacement of Special Master. In the event the Special Master

  resigns or otherwise becomes unavailable, the Parties shall attempt to agree on a successor Special

  Master with relevant experience and shall jointly present the candidate to the Court for

  appointment. If the Parties are unable to agree, the Parties will submit a joint list of candidates to

  the Court for selection and appointment by the Court. If either Party has a concern with the Special

  Master, it may bring a motion before the Court under Federal Rule of Civil Procedure 53.

         50.     Duration of Engagement. The Special Master shall be engaged and paid for by the

  Department for the duration of the Consent Decree.

  IX.    REPORTING AND MEETING OBLIGATIONS

         51.     Compliance Plan Reports. The Department will provide monthly reports to DLC

  and the Special Master in compliance with the Order for Special Master. Dkt. 113 at A. 9. The first

  report was produced on February 28, 2019. The Parties agree that the reports shall be due seven

  days after the first of every month commencing April 1, 2019, or on the next business day if the


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  seventh day of the month falls on a weekend or holiday. The Special Master and the Parties will

  agree on the content and organization of those reports, which will include an update on all the

  aspects of compliance included in Sections VI and VII, as well as an update on the

  recommendations of the Special Master and the Department’s efforts and responses to those

  recommendations.

         52.    Monthly Data Reports.

                (a)    In an organized format approved by the Special Master, as long as this

         Consent Decree remains in force, the Department’s monthly data reports will identify:

                       (i)     The Competency Services Recipient for whom a Court Order for

                Restoration Treatment, Competency Evaluation, or Collateral Materials has been

                received by the Department (even if no other data is available during that month)

                to include:

                               (1)    The name of the referred Competency Services Recipient;

                               (2)    The Competency Services Recipient’s CMHIP Patient ID
                                      number, if applicable;

                               (3)    The county or counties referring the Competency Services
                                      Recipient;

                               (4)    The case number(s) of the criminal case(s) in which the
                                      Court Order was issued;

                               (5)    The date of the Competency Services Recipient’s arrest and
                                      bond amount, as shown in the Department’s records;

                               (6)    The date of the Court Order;

                               (7)    The type and location of Competency Services ordered;

                               (8)    The date the Court Order was received by the Hospital;

                               (9)    The date that the Department learned that the Court Order
                                      was vacated or converted to another type of evaluation or
                                      restoration process;



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                                (10)   The date the Collateral Materials were received by the
                                       Department;

                                (11)   The Evaluator Signed Date;

                                (12)   The defense attorney’s name if shown in the Department’s
                                       records;

                                (13)   The criminal charges filed against the Competency Services
                                       Recipient as shown in the Department’s records;

                                (14)   The Ready for Admission date;

                                (15)   The Offered Admission date;

                                (16)   The Hospital’s Offered Admission deadline for that specific
                                       Pretrial Detainee, based on the Ready for Admission date;

                                (17)   The date of admission;

                                (18)   The type of Competency Service;

                                (19)   The location of the Competency Service;

                                (20)   The number of Days Waiting for each Pretrial Detainee;

                                (21)   The number of days between the Ready for Admission Date
                                       and the date of the monthly report for each Pretrial Detainee
                                       awaiting admission;

                        (ii)    A list of Pretrial Detainees for whom the Department has invoked

                Individual Special Circumstances and its reasons for doing so; and

                        (iii)   If there is a wait list or backlog for Competency Services, a list of

                the Pretrial Detainees waiting the longest to the shortest number of days.

                (b)     The content and categories of the Monthly Report may be subject to change

         as programs are established or upon request from the Special Master.

         53.    Monthly Cumulative Information Report. The Department will generate another

  report monthly that will include cumulative information designed to allow the Special Master and

  DLC to monitor the historic areas that have caused delayed admissions in the past. Specifically,



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  the Department has cited dramatic increases in referrals and unprecedented staffing shortages. The

  Special Master also believes a lack of community restoration services has contributed to delayed

  admissions. In a format accepted by the Special Master, and possibly integrated into the Monthly

  Compliance Report, this report will include the following information: (1) the number of referrals

  for Competency Services each month, including the type and location for each; (2) the number of

  staff employed each month by category (nursing positions, security positions, mental health

  professionals, etc.) and how many vacancies remain in each staffing category; (3) the number of

  temporary staff and the number of security staff employed each month; and (4) the number of

  Pretrial Detainees identified for Community-Based Restoration Treatment and the movement of

  those Pretrial Detainees into the community. The Special Master shall also assist the Department

  at their request in developing reporting protocols, Competency Services Recipient data, and

  formats for updating the parties on Consent Decree activities.

         54.     Timing of Reports. The first report under this Consent Decree shall be made on

  April 8, 2019. Thereafter, monthly reports shall be provided on the seventh day of each month

  following the reporting month or on the next business day if the seventh day of the month falls on

  a weekend or holiday.

         55.     Distribution of Monthly Reports. The monthly report shall be provided to DLC and

  the Special Master in Microsoft Access format and PDF format, unless another format is agreed

  upon in writing by the Parties and the Special Master.

         56.     Meetings. The Special Master shall convene and chair meetings and disseminate a

  written summary of each meeting. The summary shall include action steps and agreements of the

  parties including timeframes for follow-up activities. During the first year after the Effective Date,

  meetings shall be held monthly, and quarterly thereafter, but may be scheduled at greater intervals




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  at the Special Master’s discretion. The Parties shall treat the meetings as a serious opportunity to

  raise concerns or potential barriers with the system of institutions involved in achieving or

  maintaining full compliance with the Consent Decree. Each Party shall designate appropriate

  senior representatives, based on the agenda for each meeting, to participate in the meetings so that

  meaningful discussion can occur, and may include outside stakeholders, as appropriate based on

  the agenda. The first monthly meeting shall be scheduled for a mutually agreeable date in

  April 2019.

  X.     SPECIAL CIRCUMSTANCES

         57.       Special Circumstances. To some extent, the Department’s ability to perform its

  statutory obligations and its obligations under this Consent Decree may be based on factors beyond

  its control. As a result, and subject to the terms and conditions of this Paragraph, the timeframe

  requirements of this Consent Decree may be temporarily suspended in the following

  circumstances:

                   (a)    Special Circumstances Defined. The Department may invoke, under this

         Paragraph 57, two categories of Special Circumstances:

                          (i)     “Individual Special Circumstances” means a situation that delays

                   the Offer of Admission to a Pretrial Detainee, where the circumstances are not

                   within the control of the Department. Individual Special Circumstances is a flexible

                   concept. These situations may include, for example and without limitation, the

                   following: (1) requests by a court, County Jail, defense counsel, or the Department

                   that admission be delayed because additional information or testing required for the

                   evaluation is outstanding; (2) a court has ordered a Hold and Wait Evaluation, and

                   the sheriff must transport the Pretrial Detainee to the nearest county where there are

                   services available; (3) the Pretrial Detainee is not Medically Cleared for admission


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              due to illness or other non-psychiatric medical need, but not a need that can be

              satisfied by a plan for a reasonable accommodation; or (4) when the Pretrial

              Detainee is approaching the deadline for transfer to an inpatient facility, restoration

              to competency is imminent, and treatment providers responsible for the Pretrial

              Detainee’s care determine that transfer is not clinically appropriate. Upon

              resolution of the Individual Special Circumstance, the Pretrial Detainee must be

              Offered Admission for Competency Services immediately but no longer than three

              days, unless in derogation of a Tier 1 need, in which case the Pretrial Detainee will

              be offered the next available bed.

                     (ii)    “Departmental Special Circumstances” means circumstances the

              Department could not reasonably foresee, prepare for, address through advanced

              planning, and that are beyond the control of the Department, which impact the

              Department’s ability to comply with this Consent Decree. The failure or refusal of

              the Colorado General Assembly (or any other funding source) to adequately fund

              the Department’s operations, programs, or plan shall not be considered a

              Departmental Special Circumstance. In order to invoke this paragraph, the

              Department would first need to obtain consent from DLC or seek relief and have

              such relief granted under the dispute resolution paragraph outlined below.

              (b)    Effect of Invocation of Individual Special Circumstances. DLC and the

       Special Master will review the reporting of Individual Special Circumstances. If DLC

       questions the Department’s invocation of Individual Special Circumstances, the Parties

       will confer to review the reasons for invocation of Individual Special Circumstances and

       to determine issues for resolution. Additionally, the Department may proactively seek




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       confirmation that an event qualifies as an Individual Special Circumstance by contacting a

       representative of DLC or the Special Master in advance of formal reporting of the event. If

       the Department believes Individual Special Circumstances have become a systemic issue,

       it will follow the Departmental Special Circumstances procedure below. The Parties shall

       use good faith efforts to try and resolve any disputes concerning the invocation of

       Individual Special Circumstances. However, if the Parties do not reach an agreement

       through good faith efforts at resolution, the Parties will follow the dispute resolution

       process described in Section XII.

                      (i)    If the Parties agree to the invocation of Individual Special

              Circumstances for a particular Pretrial Detainee, the timeframe requirements of this

              Consent Decree shall be suspended as to that individual Pretrial Detainee for a

              period to be determined by the Special Master.

                      (ii)   The Department may invoke Individual Special Circumstances

              more than once for the same Pretrial Detainee, but it must follow the notification

              and conferral procedures in Paragraph 57(b) each time it seeks to invoke Individual

              Special Circumstances.

              (c)     Effect of Invocation of Departmental Special Circumstances.          If the

       Department determines that Departmental Special Circumstances exist, it shall notify the

       Court, the Special Master, and DLC in writing, and in such notification, the Department

       shall provide a detailed explanation of the basis for invoking Departmental Special

       Circumstances, a plan to remedy the Departmental Special Circumstances, and the

       projected timeframe for resolution. The period of Departmental Special Circumstances

       shall commence on the date that the Notice of Departmental Special Circumstances is




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         provided to the Court. Upon the invocation of Departmental Special Circumstances, the

         timeframe requirements of this Consent Decree shall be automatically suspended for six

         months, unless the Department notifies DLC that a shorter time is sufficient to resolve

         Departmental Special Circumstances, commencing with the month in which the Notice of

         Departmental Special Circumstances is provided to the Court. The Department shall

         provide written notice to DLC of its intent to terminate Departmental Special

         Circumstances. Upon DLC’s receipt of a Notice of Departmental Special Circumstances,

         it may request supporting documentation for the Department’s notice, and the Parties shall

         confer to review the reasons for invocation of Departmental Special Circumstances, to

         resolve questions that the Special Master or DLC may have about the circumstances that

         triggered the notice, and to assess whether the Parties are able to resolve any disagreement

         concerning invocation of Departmental Special Circumstances. If DLC decides to

         challenge the invocation of Departmental Special Circumstances, it may do so by following

         the dispute resolution procedure identified in Section XII. The Department is prohibited

         from invoking Departmental Special Circumstances consecutively. The Department cannot

         invoke Departmental Special Circumstances any sooner than June 1, 2021.

                (d)     Effect on Reporting Requirements. A Notice of Departmental Special

         Circumstances shall not affect the Department’s reporting obligations under this Consent

         Decree. In addition to such reporting obligations, the Department will provide a monthly

         written status report to DLC and the Special Master on its plans and progress to remedy

         Departmental Special Circumstances.

  XI.    DURATION

         58.    Duration and Certification. The terms and provisions of this Consent Decree shall

  remain in force until December 1, 2025, except that a sustained period of two years of compliance


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  by the Department with all terms of this Consent Decree, including the strictest timeframes

  identified herein, as certified by the Special Master, shall result in termination of this Consent

  Decree. In the event the Department complies with all terms of this Consent Decree and the

  strictest timeframes for one year, while concurrently reducing Tier 2 timeframes to 21 days for

  that one year period, such compliance shall result in termination of this Consent Decree.

  XII.   DISPUTE RESOLUTION AND REMEDIES

         59.     Dispute Resolution.

                 (a)    Dispute Resolution Generally. Any dispute concerning the interpretation or

         implementation of this Consent Decree, other than those for which DLC seeks the remedy

         of contempt, shall first be submitted to the Special Master, who shall attempt to informally

         mediate and resolve the dispute. The Special Master may make use of such informal dispute

         resolution processes as it deems necessary, which may include, but are not limited to,

         informal suggestions or recommendations and compulsory conferences of the Parties.

                 (b)    Dispute Resolution for Non-Contempt Proceedings. If informal attempts

         fail to resolve the matters identified in the preceding paragraph, or if the Special Master

         believes the Department has materially violated this Consent Decree or has in some other

         manner acted in bad faith, the Special Master or any Party may submit a written request

         to Judge Hegarty (or, in the event he is no longer serving as a magistrate judge in this

         District, a magistrate judge successor or someone mutually agreed upon by the

         parties) for an evidentiary hearing, requesting specific relief and a decision. A copy of

         this request shall be served upon opposing counsel and the Special Master. Judge Hegarty

         shall determine whether the dispute requires an evidentiary hearing, and, if so, schedule

         such hearing at the convenience of the Parties. Judge Hegarty shall file a written decision

         supported by written findings of fact and may impose any relief permitted by this

         Consent Decree. This includes,
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       but is not limited to, attorney’s fees. Judge Hegarty’s decision shall become final and

       binding upon the Parties.

              (c)     Dispute Resolution for Contempt Proceedings. In the event that DLC

       believes the Department’s violation of this Consent Decree warrants contempt, DLC shall

       first attempt mediation through Judge Hegarty, who will conduct the proceeding on an

       expedited basis. Upon a finding by Judge Hegarty that the matter cannot be mediated, DLC

       may file a Motion for Order to Show Cause on the matter in controversy with this Court.

       60.    Remedies for Non-Contempt Violations of the Consent Decree.

              (a)     Timeframe Violations. The Parties agree that, in addition to the fines set

       forth in Paragraph 37 and the penalties set forth in Paragraph 60(b), DLC shall be entitled

       to seek its attorney’s fees and costs for pursuing such violations. In no event, however,

       shall the Department be subject to contempt strictly for violations of the timeframes for the

       delivery of Competency Services, except that sustained and/or egregious violations of

       those timeframes may constitute a material violation of this Consent Decree.

              (b)     Material Violations. Upon a finding of a material violation, Judge Hegarty

       may order immediate enforcement of the agreement, order injunctive relief, impose

       liquidated damages (as detailed below), attorney’s fees, or fashion any other relief deemed

       appropriate for the Department’s violation of this Consent Decree.

              (c)     Liquidated Damages. The Parties further agree that if Judge Hegarty finds

       a material violation of this Consent Decree, the damages sustained by the Pretrial Detainees

       because of such violation would be difficult, if not impossible, to ascertain. The Parties

       agree to provide for damages rather than a penalty and agree that in addition to other

       remedies available to DLC, Judge Hegarty can award liquidated damages of up to $10,000




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         a day for each day Judge Hegarty determines the violation to have occurred and continuing

         until the violation is remedied.

                 (d)     Non-Timeframe Violations Adjudicated by Contempt. Nothing set forth

         herein is intended to, or in any way shall, limit the Court’s power to enforce the

         Department’s compliance with this Consent Decree through contempt (except for a

         violation of the timeframes, which the parties have agreed is not subject to contempt). In

         such proceedings, the Court shall have all powers afforded by law to remedy the contempt

         and/or punish the Department for violation of this Consent Decree.

  XIII. MISCELLANEOUS PROVISIONS

         61.     Effective Date of the Consent Decree. This Consent Decree shall become effective

  on the date of the Court’s entry.

         62.     Remedies by Pretrial Detainees Not Precluded. Nothing in this Consent Decree

  limits a Pretrial Detainee, or his or her counsel, from bringing other court action, such as contempt

  of court proceedings, if the circumstances warrant such action. However, the provisions of this

  Consent Decree are intended to be enforced solely by the United States District Court for the

  District of Colorado. In any court action brought by a Pretrial Detainee for contempt of court, the

  Department retains all defenses to such action, including but not limited to those attending

  C.R.C.P. 107. Nevertheless, the Parties agree that the terms of this Consent Decree are not binding

  or enforceable as to individual Pretrial Detainees, because they are not parties to this Lawsuit.

         63.     Contempt Actions Against Other Agencies, Non-Complying Sheriff’s Offices,

  District Attorney’s Offices, and Defense Counsel Not Precluded . Nothing in this Consent
  Decree

  precludes any court from issuing contempt citations to sheriffs for failing to comply with orders to

  transport Pretrial Detainees to or from the Hospital, district attorneys for violating timelines



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  ordered by courts to provide Collateral Materials, or defense attorneys who fail to comply with

  orders related to Competency Services.

         64.     Complete Consent Decree; Modification; and Waiver.            This Consent Decree

  constitutes the entire agreement between the Parties and supersedes all prior and contemporaneous

  agreements, representations, warranties, and understandings of the Parties. This Consent Decree

  replaces and supersedes the Amended and Restated Settlement Agreement executed by the Parties

  on July 28, 2016 in its entirety. No supplement, modification, or amendment of this Consent

  Decree shall be binding unless entered by the Court.

         65.     Attorney’s Fees and Costs. Part of the effect of this Consent Decree is to settle the

  specific matters outlined or referenced in this Consent Decree as to the Parties up to the date the

  Consent Decree is finalized. Accordingly, the Colorado State Office of Risk Management shall

  pay DLC’s counsel the lump sum amount of $654,177.50 (the dollar amount is contingent upon

  the State Claims Board’s approval of this amount on March 26, 2019) in full and final settlement

  of all costs and fees, including attorney’s fees, incurred by DLC’s counsel starting on June 1, 2017,

  up to and including the date this Consent Decree is finalized and signed by all Parties hereto (the

  “Settlement Payment”). When the final amount is approved by the State Claims Board, DLC’s

  counsel shall enter a separately filed binding agreement related to the Settlement Payment, which

  agreement shall be on the then-current, Controller-approved standard settlement agreement. The

  Settlement Payment shall be paid to Eytan Nielsen LLC as follows: A warrant in the amount of

  $654,177.50 (or in the dollar amount approved by the State Claims board on March 26, 2019) will

  be made payable to Eytan Nielsen LLC. The warrant will be delivered to Eytan Nielsen LLC within

  30 days from March 26, 2019, or as soon after March 26, 2019 as practicable. Prior to delivery of

  the warrant, the Controller-approved settlement document will be signed by all Parties and the




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  Controller. No withholding for payment of federal, state or local taxes will occur respecting any

  warrant issued pursuant to this Consent Decree other than those required by federal or state law or

  rules governing the Controller. Eytan Nielsen LLC will complete, execute and provide an original

  of I.R.S. form W-9 in conjunction with submitting the signed Consent Decree as an initial step in

  completing the arrangements described here. A Form 1099 will be issued to Eytan Nielsen LLC

  on the Settlement Payment. The Settlement Payment made hereunder shall not be designated as

  wages, salary or back pay, except to the extent required by federal or state law or by rules

  governing the Controller, but is instead made in compromise of all claims arising from or related

  to the subject matter of this Consent Decree for those matters up to and including the date this

  Consent Decree is fully executed and entered by the Court.

         66.     Written Notice. Any notice or other communication required or permitted under

  this Consent Decree shall be in writing and shall be deemed to have been duly given when

  (1) mailed by United States registered or certified mail, return receipt requested, (2) mailed by

  overnight express mail or other nationally recognized overnight or same-day delivery service,

  (3) sent as a PDF attachment to electronic mail, or (4) delivered in person, to the Parties at the

  following addresses:

                 If DLC, to:                           Disability Law Colorado
                                                       455 Sherman Street, #130
                                                       Denver, Colorado 80203

                         Attention:                    Mark Ivandick
                                                       mivandick@disabilitylawco.org

                                                       Jennifer Purrington
                                                       jpurrington@disabilitylawco.org




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                 With a copy to:                       Iris Eytan, Esq.
                                                       EYTAN NIELSEN LLC
                                                       3200 Cherry Creek South Drive
                                                       Denver, CO 80209
                                                       iris@eytan-nielsen.com

                 If the Department, to:                Department of Human Services
                                                       1575 Sherman Street
                                                       Denver, Colorado 80203

                         Attention:                    Michelle Barnes
                                                       michelle.barnes@state.co.us

                 If the Hospital, to:                  Colorado Mental Health Institute at Pueblo
                                                       1600 West 24th Street
                                                       Pueblo, Colorado 81003

                         Attention:                    Jill Marshall, M.P.H.
                                                       jill.marshall@state.co.us

                 With a copy to:                       Office of the Attorney General
                                                       Ralph L. Carr Colorado Judicial Center
                                                       1300 Broadway, 6th Floor
                                                       Denver, CO 80203

                         Attention:                    Tanja Wheeler
                                                       tanja.wheeler@coag.gov

                                                       Ann Pogue
                                                       ann.pogue@coag.gov

                                                       Sarah Richelson
                                                       sarah.richelson@coag.gov

         A Party may change the names or address where notice is to be given by providing notice

  to the other Parties of such change in accordance with this Paragraph.

  XIV. RESERVATION OF JURISDICTION AND ENFORCEMENT

         67.     The Court hereby retains jurisdiction over this Consent Decree.

         68.     The Court hereby also retains jurisdiction to enforce the terms of this Consent

  Decree, upon Final Approval, until the Consent Decree is terminated and for 60 days after the

  Department provides the final monthly report.

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         69.     Nothing in this Consent Decree requires or permits the Department to violate a

  court order.

         70.     Minor or transitory mistakes shall not be considered a violation of this Consent

  Decree.

  XV.    FINAL JUDGMENT

         Based on the pleadings, counsels’ stipulation of facts, and representations of counsel for

  both parties, the Court does find: The facts alleged in Paragraphs 1 through 13 warrant the Court’s

  approval of this Consent Decree.

         Upon entry of this Consent Decree by the Court, this Consent Decree shall constitute the

  final judgment between and among the Plaintiff and Defendants. The Court enters this judgment

  as a final judgment under Federal Rules of Civil Procedure 54 and 58 that is fully enforceable by

  all plenary powers of the Court.

         IT IS SO ORDERED, this 2nd day of April, 2019.



                                                 Hon. Nina Y. Wang
                                                 United States Magistrate Judge

  APPROVED FOR ENTRY:

   /s/Mark Ivandick                                   /s/Michelle Barnes
   Center for Legal Advocacy, d/b/a Disability        Colorado Department of Human Services
   Law Colorado                                       Name: Michelle Barnes
   Name: Mark Ivandick                                Title: Executive Director, in her official
   Title: Managing Attorney                           capacity
   Dated: March 27, 2019                              Dated: March 27, 2019

   /s/Jill Marshall
   Colorado Mental Health Institute at Pueblo
   Name: Jill Marshall
   Title: Chief Executive Officer, in her official
   capacity
   Dated: March 27, 2019



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                            TABLE 1: Timeframes and Fines for Competency Services

Deadlines          Tier 1: Maximum            Tier 2: Maximum           Maximum                   Maximum
                   Timeframes to Offer        Timeframes to Offer       Timeframes to Offer       Timeframes to
                   Admission for Inpatient    Admission for             Admission for             Complete Jail
                   Restoration and            Inpatient Restoration     Inpatient Competency      Competency
                   Corresponding Fines        and Corresponding         Evaluations and           Evaluations and
                                              Fines                     Corresponding Fines       Corresponding Fines

June 1, 2019       7 days                     56 days                   21 days                   28 days

                   Fines: $500 per day for    Assess for admission      Fines: $100 per day for   Fines: $100 per day
                   each Pretrial Detainee     every 10 days             each Pretrial Detainee    for each Pretrial
                   waiting more than 7 days                             waiting more than 21      Detainee waiting more
                                              Fines: $100 per day for   days                      than 28 days
                                              each Pretrial Detainee
                                              waiting 29-56 days,
                                              $500 per day for each
                                              Pretrial Detainee
                                              waiting more than 56
                                              days
January 1, 2020    7 days                     49 days                   21 days                   28 days

                   Fines: $500 per day for    Assess for admission      Fines: $100 per day for   Fines: $100 per day
                   each Pretrial Detainee     every 10 days             each Pretrial Detainee    for each Pretrial
                   waiting more than 7 days                             waiting more than 21      Detainee waiting more
                                              Fines: $100 per day for   days                      than 28 days
                                              each Pretrial Detainee
                                              waiting 29-49 days,
                                              $500 per day for each
                                              Pretrial Detainee
                                              waiting more than 49
                                              days



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Deadlines          Tier 1: Maximum            Tier 2: Maximum           Maximum                   Maximum
                   Timeframes to Offer        Timeframes to Offer       Timeframes to Offer       Timeframes to
                   Admission for Inpatient    Admission for             Admission for             Complete Jail
                   Restoration and            Inpatient Restoration     Inpatient Competency      Competency
                   Corresponding Fines        and Corresponding         Evaluations and           Evaluations and
                                              Fines                     Corresponding Fines       Corresponding Fines

July 1, 2020       7 days                     42 days                   14 days                   21 days

                   Fines: $500 per day for    Assess for admission      Fines: $100 per day for   Fines: $100 per day
                   each Pretrial Detainee     every 10 days             each Pretrial Detainee    for each Pretrial
                   waiting more than 7 days                             waiting more than 14      Detainee waiting more
                                              Fines: $100 per day for   days                      than 21 days
                                              each Pretrial Detainee
                                              waiting 29-42 days,
                                              $500 per day for each
                                              Pretrial Detainee
                                              waiting more than 42
                                              days
January 1, 2021    7 days                     35 days                   14 days                   21 days

                   Fines: $500 per day for    Assess for admission      Fines: $100 per day for   Fines: $100 per day
                   each Pretrial Detainee     every 10 days             each Pretrial Detainee    for each Pretrial
                   waiting more than 7 days                             waiting more than 14      Detainee waiting more
                                              Fines: $100 per day for   days                      than 21 days
                                              each Pretrial Detainee
                                              waiting 29-35 days,
                                              $500 per day for each
                                              Pretrial Detainee
                                              waiting more than 35
                                              days




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Deadlines          Tier 1: Maximum            Tier 2: Maximum           Maximum                   Maximum
                   Timeframes to Offer        Timeframes to Offer       Timeframes to Offer       Timeframes to
                   Admission for Inpatient    Admission for             Admission for             Complete Jail
                   Restoration and            Inpatient Restoration     Inpatient Competency      Competency
                   Corresponding Fines        and Corresponding         Evaluations and           Evaluations and
                                              Fines                     Corresponding Fines       Corresponding Fines

July 1, 2021       7 days                     28 days                   14 days                   21 days

                   Fines: $500 per day for    Assess for admission      Fines: $100 per day for   Fines: $100 per day
                   each Pretrial Detainee     every 10 days             each Pretrial Detainee    for each Pretrial
                   waiting more than 7 days                             waiting more than 14      Detainee waiting more
                                              Fines: $500 per day for   days                      than 21 days
                                              each Pretrial Detainee
                                              waiting more than 28
                                              days




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